                                      United States Bankruptcy Court
                                        Northern District of Ohio
In re:                                                                                  Case No. 19-11235-jps
Eric Marcus Henry, Sr.                                                                  Chapter 7
Paulette Dean Henry
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0647-1           User: admin                  Page 1 of 2                   Date Rcvd: Mar 12, 2019
                               Form ID: 309A                Total Noticed: 73


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 14, 2019.
db/db          +Eric Marcus Henry, Sr.,    Paulette Dean Henry,     1817 East 32nd Street,    Lorain, OH 44055-1811
25915358       +AT & T Mobility,    P.O. Box 5014,    Carol Stream, IL 60197-5014
25915361       +Adbul Razack MD,    1451 North Hartman Street,     Boise, ID 83704-8849
25915362       +Amb. Surg. Center,    24700 Chagrin Blvd,    Beachwood, OH 44122-5647
25915363       +Amherst Community Hospital,    254 Cleveland Avenue,     Amherst, OH 44001-1699
25915364       +Arco Media Inc.,    1336 SE 47th Street,    Cape Coral, FL 33904-9636
25915365       +Ashley Funding Services,    200 Meeting Street,      Charleston, SC 29401-3156
25915366        Beachbody,    Santa Monica, CA 90404
25915367       +Bermudez Financial Services,    1430 South Washington Street,     Millersburg, OH 44654-9454
25915377      ++COLUMBIA GAS,    290 W NATIONWIDE BLVD 5TH FL,     BANKRUPTCY DEPARTMENT,    COLUMBUS OH 43215-4157
               (address filed with court: Columbia Gas,      P.O. Box 742510,    Cincinnati , OH 45274)
25915372       +City of Lorain Taxation Department,     605 West Fourth Street,    Lorain, OH 44052-1605
25915373       +City of Lorain Taxation Dept.,     605 W Fourth Street,    Lorain, OH 44052-1605
25915374       +City of Lorain Utilities Dept.,     1106 West 1st Street,    Lorain, OH 44052-1434
25915375       +City of Lorain Utility,    200 West Erie Avenue,     Lorain, OH 44052-1606
25915376       +Cleveland Clinic,    9500 Euclid Avenue,    Cleveland, OH 44195-0002
25915378       +Columbia House,    1400 North Fruitridge Avenue,     Terre Haute, IN 47804-1776
25915379       +Community Health Partners,    578 North Leavitt Road,     Amherst, OH 44001-1131
25915382       +Elyria Memorial Hospital,    630 East River Street,     Elyria, OH 44035-5981
25915383       +Estate of Robert Vietzen,    Eric Severs, Esq.,     5 South main St. #1,    Oberlin, OH 44074-1677
25915384       +FFCC,   24700 Chagrin Blvd, #205,     Beachwood, OH 44122-5630
25915385        Fidelity Collection,    855 South Sawburg Ave, #103,     Alliance, OH 44601
25915386       +First Credit,    P.O. Box 630838,    Cincinnati, OH 45263-0838
25915388       +First Federal Savings of Lorain,     2233 East 42nd Street,    Lorain, OH 44055-3598
25915390       +Govind K. Mehta MD,    125 East Broad Street, #219,     Elyria, OH 44035-6447
25915391       +Healthcare Medical Services,    Care Centrix,     4 Westchester Plaza , #110,
                 Elmsford, NY 10523-1615
25915394       +Laboratory Corp of America,    418 E Broad Street,     Elyria, OH 44035-6436
25915395       +Lakeshore Auto Wholesalers, Inc.,     1423 Cooper Foster Park Rd,    Amherst, OH 44001-1202
25915396       +Lifecare Ambulance, Inc.,    640 Cleveland Street,     Elyria, OH 44035-4104
25915397       +Lorain County Job & Family Service,     42485 North Ridge Road,    Elyria, OH 44035-1045
25915398        Manley Deas Kochalski,    P.O. Box 165028,    Columbus, OH 43216-5028
25915399       +Mercy Health Partners,    3700 Kolbe Road,    Lorain, OH 44053-1611
25915400       +Midfirst Bank,    999 NW Grand Blvd, #100,    Oklahoma City, OK 73118-6051
25915401       +NES Probill Secondary,    P.O. Box 15670,    Brooksville, FL 34604-0122
25915402       +NESAO Surgical,    6100 Rockside Woods, #425,     Independence, OH 44131-2340
25915404       +Ohio BMV,   P.O. Box 16520,    Columbus, OH 43216-6520
25915406       +Penn Foster High School,    925 Oak Street,    Scranton, PA 18515-0901
25915407      #+Physician Link Center,    P.O. Box 3194,    Indianapolis, IN 46206-3194
25915408       +Progressive Insurance Company,     6300 Wilson Mills Road,    Cleveland, OH 44143-2182
25915411       +RBA,   1720 Cooper Foster Road, #B,     Lorain, OH 44053-4200
25915414       +Springleaf/One Main Financial,     P.O. Box 3251,    Evansville, IN 47731-3251
25915416       +Superior Medical Care Inc.,    5334 Meadow Lane Court,     Elyria, OH 44035-1469
25915418       +US Dept of Education,    2401 International,    Madison, WI 53704-3121
25915419       +University Hospitals Avon Health Center: Emer,      1997 Healthway Drive,    Avon, OH 44011-2834
25915420       +University Hospitals Elyria Medical Cente,     630 River Street,    Elyria, OH 44035-5902
25915424       +Winter Park Memorial Hospital,     200 N Lakemont Avenue,    Winter Park, FL 32792-3273
25915425        World Gym,    5248 Cobblestone Rd,    Sheffield Lake, OH 44054

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: docket@ohbksource.com Mar 12 2019 22:35:29       William J. Balena,
                 30400 Detroit Road,    Suite 106,   Westlake, OH 44145
tr             +EDI: FRDBARR Mar 13 2019 02:08:00      Robert D. Barr,    Chapter 7 Trustee,
                 1111 Superior Avenue East Suite 2500,    Cleveland, OH 44114-2568
ust            +E-mail/Text: ustpregion09.cl.ecf@usdoj.gov Mar 12 2019 22:36:15        Cynthia J. Thayer,
                 US Department of Justice,    201 Superior Avenue,    Suite 441,    Cleveland, OH 44114-1234
25915357       +EDI: RMCB.COM Mar 13 2019 02:08:00      AMCA,   P.O. Box 1235,     Elmsford, NY 10523-0935
25915359       +EDI: AAEO.COM Mar 13 2019 02:08:00      Aaron Sales & Lease,     2800 Canton Road, #900,
                 Marieta, GA 30066-5477
25915360       +E-mail/Text: bankruptcy@rentacenter.com Mar 12 2019 22:38:42        Acceptance Now,
                 5501 Headquarters Drive,    Plano, TX 75024-5837
25915368       +E-mail/Text: bevans@cdresource.com Mar 12 2019 22:38:21       CDI Affilated Service,
                 1451 Hartman,   Bise , IA 83704-8849
25915369       +E-mail/Text: bankruptcy@cavps.com Mar 12 2019 22:37:47       Calvary Portfolio Sevice,
                 500 Summit Lake Drive,    Valhalla , NY 10595-2322
25915370       +EDI: CAPITALONE.COM Mar 13 2019 02:08:00      Capital One,    P.O. Box 71083,
                 Charlotte, NC 28272-1083
25915371       +E-mail/Text: bmg.bankruptcy@centurylink.com Mar 12 2019 22:37:36        Century Link,
                 P.O. Box 4300,   Carol Stream, IL 60197-4300
25915380       +EDI: RCSFNBMARIN.COM Mar 13 2019 02:08:00      Credit One Bank,     P.O. Box 60500,
                 City of Industry, CA 91716-0500
25915381       +EDI: DIRECTV.COM Mar 13 2019 02:08:00      Direct TV,    P.O. Box5008,
                 Carol Stream , IL 60197-5008


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                                      Form ID: 309A                      Total Noticed: 73


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
25915387        E-mail/Text: bankruptcy@firstenergycorp.com Mar 12 2019 22:37:20         First Energy,
                 76 South Main Street,    Akron, OH 44308
25915389       +EDI: AMINFOFP.COM Mar 13 2019 02:08:00       First Premier Bank,     P.O. Box 5529,
                 Sioux Falls, SD 57117-5529
25915392       +EDI: IRS.COM Mar 13 2019 02:08:00      Internal Revenue Service,      P.O. Box 7346,
                 Philadelphia, PA 19101-7346
25915393       +EDI: RESURGENT.COM Mar 13 2019 02:08:00       LVNV Funding,    P.O. Box 10497,
                 Greenville, SC 29603-0497
25915403        E-mail/Text: boestreicher@nomshealthcare.com Mar 12 2019 22:38:50         NOMS Healthcare,
                 P.O. Box 378,    Sandusky, OH 44871
25915405        E-mail/Text: bankruptcy@firstenergycorp.com Mar 12 2019 22:37:20         Ohio Edison,
                 P.O. Box 3637,    Akron, OH 44309
25915410       +E-mail/Text: pbrown@qmerge.com Mar 12 2019 22:35:34        Quantum 3 Group,
                 15130 Broadmoor Street,    Shawnee Mission, KS 66223-3112
25915409       +EDI: Q3G.COM Mar 13 2019 02:08:00      Quantum 3 Group,     P.O. Box 788,
                 Kirkland, WA 98083-0788
25915412        E-mail/Text: bk@revenuegroup.com Mar 12 2019 22:38:09        Revenue Group,
                 4780 Hinckley Industrial Pkwy, #200,     Cleveland, OH 44109
25915413        EDI: AGFINANCE.COM Mar 13 2019 02:08:00       Springleaf Financial,     5222 Detroit Rd,
                 Elyria, OH 44035
25915415        EDI: NEXTEL.COM Mar 13 2019 02:08:00       Sprint,    P.O. Box 4191,    Carol Stream, IL 60197
25915417       +EDI: WFNNB.COM Mar 13 2019 02:08:00       The Avenue,    P.O. Box 659584,
                 San Antonio, TX 78265-9584
25915421       +EDI: VERIZONCOMB.COM Mar 13 2019 02:08:00       Verizon,    P.O. Box 15124,
                 Albany, NY 12212-5124
25915423       +EDI: WFFC.COM Mar 13 2019 02:08:00      Wells Fargo,     P.O. Box 19657,    Irvine, CA 92623-9657
25915422       +EDI: WFFC.COM Mar 13 2019 02:08:00      Wells Fargo,     P.O. Box 997517,
                 Sacramento, CA 95899-7517
                                                                                                TOTAL: 27

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 14, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 12, 2019 at the address(es) listed below:
              Robert D. Barr    barr-trustee@koehler.law, rdb@trustesolutions.net
              William J. Balena    on behalf of Debtor Eric Marcus Henry, Sr. docket@ohbksource.com,
               debra@ohbksource.com
              William J. Balena    on behalf of Debtor Paulette Dean Henry docket@ohbksource.com,
               debra@ohbksource.com
                                                                                             TOTAL: 3




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Information to identify the case:
Debtor 1              Eric Marcus Henry Sr.                                             Social Security number or ITIN        xxx−xx−3574
                      First Name    Middle Name     Last Name                           EIN _ _−_ _ _ _ _ _ _
Debtor 2              Paulette Dean Henry                                               Social Security number or ITIN        xxx−xx−3620
(Spouse, if filing)
                      First Name    Middle Name     Last Name                           EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court             Northern District of Ohio
                                                                                        Date case filed for chapter 7 3/8/19
Case number:          19−11235−jps


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                  About Debtor 1:                                    About Debtor 2:

1.      Debtor's full name                        Eric Marcus Henry Sr.                              Paulette Dean Henry

2.      All other names used in the
        last 8 years

3.     Address                                1817 East 32nd Street                                  1817 East 32nd Street
                                              Lorain, OH 44055                                       Lorain, OH 44055

4.     Debtor's attorney                      William J. Balena                                     Contact phone (440) 365−2000
                                              30400 Detroit Road
       Name and address                       Suite 106                                             Email: docket@ohbksource.com
                                              Westlake, OH 44145

5.     Bankruptcy trustee                     Robert D. Barr                                        Contact phone (216) 539−9370
                                              Chapter 7 Trustee
       Name and address                       1111 Superior Avenue East Suite 2500                  Email: barr−trustee@koehler.law
                                              Cleveland, OH 44114
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1




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Debtor Eric Marcus Henry Sr. and Paulette Dean Henry                                                                   Case number 19−11235−jps


6. Bankruptcy clerk's office                    United States Bankruptcy Court                                Hours open 9:00 AM − 4:00 PM
                                                Howard M. Metzenbaum U.S. Courthouse
    Documents in this case may be filed at this 201 Superior Avenue                                           Contact phone 216−615−4300
    address. You may inspect all records filed Cleveland, OH 44114−1235
    in this case at this office or online at
    www.pacer.gov.                                                                                            Date: 3/12/19
    www.ohnb.uscourts.gov.


7. Meeting of creditors                           April 15, 2019 at 01:00 PM                                  Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a              341 Meeting, H.M.M. US
    questioned under oath. In a joint case,       later date. If so, the date will be on the court            Courthouse, 201 Superior Ave,
    both spouses must attend. Creditors may
    attend, but are not required to do so.        docket.                                                     6th Floor, Cleveland, OH 44114

                                                          *** Valid photo identification required ***
                                                      *** Proof of Social Security Number required ***


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                 Filing deadline: 6/14/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                  debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                            page 2




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